

Matter of Johnson v Johnson (2021 NY Slip Op 01910)





Matter of Johnson v Johnson


2021 NY Slip Op 01910


Decided on March 26, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 26, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., LINDLEY, CURRAN, AND DEJOSEPH, JJ.


285 CAF 20-01259

[*1]IN THE MATTER OF DEREK RAMON JOHNSON, PETITIONER-APPELLANT,
vKENYA IESHA JOHNSON, RESPONDENT-RESPONDENT.IN THE MATTER OF KENYA IESHA JOHNSON, PETITIONER-RESPONDENT,
vDEREK RAMON JOHNSON, RESPONDENT-APPELLANT. (APPEAL NO. 3.) 






D.J. &amp; J.A. CIRANDO, PLLC, SYRACUSE (JOHN A. CIRANDO OF COUNSEL), FOR PETITIONER-APPELLANT AND RESPONDENT-APPELLANT.
PAUL B. WATKINS, FAIRPORT, FOR RESPONDENT-RESPONDENT AND PETITIONER-RESPONDENT. 
SCOTT A. OTIS, WATERTOWN, ATTORNEY FOR THE CHILD.


	Appeal from an order of the Family Court, Jefferson County (Peter A. Schwerzmann, A.J.), entered August 28, 2020 in proceedings pursuant to Family Court Act article 6. The order denied the motion of petitioner-respondent to settle the record on appeal to include additional documents. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Johnson v Johnson ([appeal No. 1] — AD3d — [Mar. 26, 2021] [4th Dept 2021]).
Entered: March 26, 2021
Mark W. Bennett
Clerk of the Court








